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FILED
UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE, FLORIDA 2009 JUL 21 AM 9:59
CASE NO.:: Migate Sgt “ a 5 we ue:
NORMA ANDINO-CRUZ, JACKSONVE: | & 4 FLORIDAL *

Plaintiff,
Vv.

3:04 -0u-667-4-3Y ARK

OXFORD COLLECTION AGENCY, INC.
Defendant.
/
COMPLAINT
Plaintiff, NORMA ANDINO-CRUZ, by and through her undersigned counsel, hereby files
this Complaint and sues Defendant, OXFORD COLLECTION AGENCY, INC. alleging:
NATURE OF ACTION
1. This is an action for damages brought by an individual consumer for Defendant’s violations
of the Fair Debt Collection Practices Act, 15 U.S.C. §1692 (hereinafter “FDCPA”), the
Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. §501.201 to §501.213
(hereinafter “FDUTPA”), and the Florida Consumer Collection Practices Act, Fla. Stat.
§559.55 to §559.785 (hereinafter “FCCPA”), which prohibits debt collectors from engaging
in abusive, deceptive, and unfair practices.
JURISDICTION AND VENUE
2. Jurisdiction of this Court arises under 15 U.S.C. §1692k(d), 28 U.S.C. §1337, and
supplemental jurisdiction exists for the state law claims pursuant to 28 U.S.C. §1367.
Declaratory relief is available pursuant to 28 U.S.C. §§2201 and 2202. Venue in this
District is proper because Defendant transacts business here and the conduct complained of
occurred here.

PARTIES

3. Plaintiff is a natural person residing in Duval County, Florida.
10.

11.

12.

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Defendant is a Corporation engaged in the business of collecting debts in this state with its
principal place of business in Melville, New York.
The principal purpose of Defendant is the collection of debts using the internet, mail and
telephone, and Defendant regularly attempts to collect debts alleged to be due to another.
At all times mentioned in this Complaint, Defendant was a “debt collector” as defined under
the FDCPA, 15 U.S.C. 1692a(6).
At all times mentioned in this Complaint, Plaintiff was a “consumer” as defined by 15
U.S.C. §1692a(2) and is alleged to have owed a “debt” of a “personal, family, or household”
nature as defined by 15 U.S.C. §1692a(5).

FACTUAL ALLEGATIONS
Plaintiff became delinquent on an account with Goodyear Tire/Citigroup.
Representatives from Citigroup began to contact the Plaintiff in reference to her debt.
Plaintiff drafted and forwarded a cease and desist letter to Citigroup.
On July 14, 2009, “Peter”, a representative of the Defendant, contacted Plaintiff. Plaintiff
explained to “Peter” that contacting her was a violation of the cease and desist. Plaintiff then
asked that any further contact regarding this matter be made with her attorney. She then
gave all of the attorney’s contact information to “Peter”. “Peter” said “Whatever,” and hung
up on the Plaintiff.
On July 15, 2009, “Regina”, another of Defendant’s representatives, phoned the Plaintiff.
Plaintiff again explained that representatives should not be contacting her, but her attorney.

Each time representatives phoned, it was from the same number, (732) 941-0140.

COUNT ONE: FEDERAL FAIR DEBT COLLECTION PRACTICES ACT (FDCPA)

Plaintiff repeats and realleges and incorporates by reference paragraphs one (1) through twelve (12).

13.

This is an action for damages for violation of the "FDCPA.”
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14. Defendant’s violations include, but are not limited to, the following:

a. In connection with the collection of a debt, the Defendant used false or deceptive or
misleading misrepresentations or means by failing to disclose in an initial, oral
communication with the consumer that the debt collector is attempting to collect a debt and
that any information obtained will be used for that purpose in violation of 15 U.S.C.
§1692e(11).

b. Defendant violated 15 U.S.C. §1692d by engaging in conduct in which the natural
consequence of which is to harass, oppress and abuse any person in connection with the
collection of an alleged debt.

c. Defendant violated 15 U.S.C. §1692b(6)after the debt collector knows the consumer is
represented by an attorney with regard to the subject debt and has knowledge of, or can
readily ascertain, such attorney's name and address, not communicate with any person other
than that attorney, unless the attorney fails to respond within a reasonable period of time to
communication from the debt collector.

15. | Asadirect and proximate result of Defendant’s violations of the FDCPA, Defendant is
liable to Plaintiff for declaratory judgment that Defendant’s conduct violated the FDCPA,
and Plaintiffs actual damages, statutory damages, and costs. Plaintiff is entitled to
attorney’s fees pursuant to 15 U.S.C. §1692k.

WHEREFORE, Plaintiff demands a trial by jury on all issues so triable and judgment
against Defendant for damages, attorney’s fees, costs, interest, and such other relief as this Court
deems appropriate.

COUNT TWO: UNFAIR AND DECEPTIVE TRADE PRACTICE
Plaintiff repeats and realleges and incorporates by reference paragraphs one (1) through 15 (fifteen).

16. —_ This is an action for damages for violation of the Florida Deceptive and Unfair Trade

Practices Act (Fla. Stat. §501.201 to §501.213).
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17. Collection of this debt was a “consumer transaction” within the scope of the Florida
Deceptive and Unfair Trade Practices Act, §501.201 to §501.213.

18. In engaging in the above business practices and collection practices described above,
Defendant committed an unfair and deceptive act or practice in connection with the
collection of the alleged debt owed to Defendant.

19. Defendant’s acts as described above were done intentionally with the purpose of coercing
Plaintiff to pay the alleged debt.

20. Plaintiff has retained the undersigned attorney for the purposes of pursing this matter against
Defendant and is obligated to pay said attorney a reasonable fee for his services. The
Florida Deceptive and Unfair Trade Practices Act provides for an award of attorney’s fees
should Plaintiff prevail in this matter.

21. As a result of the above violations of the state Act, the Defendant is liable to the Plaintiff for
injunctive and declaratory relief and for actual damages, statutory damages, and attorney’s
fees and costs.

WHEREFORE, Plaintiff demands judgment against Defendant as follows: actual damages,
statutory damages, costs of this action, attorney’s fees and such other and further relief as this Court
may deem just.

COUNT THREE: FLORIDA CONSUMER COLLECTION
PRACTICES ACT VIOLATION

Plaintiff repeats and realleges and incorporates by reference paragraphs | (one) through 21 (twenty-

one).

22. ‘This is an action for damages for violation of the “Florida Consumer Collection Practices
Act.” (Fla. Stat. §559.55 to §559.785)

23. | Defendant is and was subject to, and has violated The Florida Consumer Collection

Practices Act by engaging in the collection of a consumer debt and:
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a. Willfully communicate with the debtor or any member of her or his family with such
frequency as can reasonably be expected to harass the debtor or her or his family, or
willfully engage in other conduct which can reasonably be expected to abuse or harass the
debtor or any member of her or his family; using profane, vulgar or willfully abusive
language in communicating with the debtor or any member of her family. F.SA.
559.721(7);

b. Communicate with a debtor if the person knows that the debtor is represented by an
attorney with respect to such debt and has knowledge of, or can readily ascertain, such
attorney's name and address, unless the debtor's attorney fails to respond within a reasonable
period of time to a communication from the person, unless the debtor's attorney consents to
a direct communication with the debtor, or unless the debtor initiates the communication;
F.SA. 559.721(18).

24. Plaintiff has retained the undersigned attorney for the purposes of pursing this matter against
Defendant and is obligated to pay said attorney a reasonable fee for his services. Florida law,
Section 559.77, provides for an award of attorneys fees should Plaintiff prevail in this
matter.

25.  Asadirect and proximate result of Defendant’s actions, Plaintiff has sustained damages as
defined by Florida Statute Section 559.77 including, but not limited to emotional distress,
and other damages.

WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter a judgment
against Defendant for damages, attorney’s fees, costs, interest, and such other relief as this Court
deems appropriate.

JURY DEMAND

Plaintiff hereby demands a trial by jury on all issues so triable.
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Respectfully submitted,

COLLIVA & STORY, P.A.

 

  

Jacksonville, FL 3
(904) 355-0805
Attorney for Plaintiff
